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   10                   UNITED STATES DISTRICT COURT
   11                 CENTRAL DISTRICT OF CALIFORNIA
   12

   13 NEW YORK MARINE AND                        Case No. 2:22-cv-4685-GW (PDx)
      GENERAL INSURANCE
   14 COMPANY, a New York                        Hon. George H. Wu,
                                                 Courtroom 9D
   15 corporation,
                        Plaintiff,               MEMORANDUM OF POINTS
   16                                            AND AUTHORITIES IN
             vs.                                 SUPPORT OF
   17                                            DEFENDANT’S MOTION TO
                                                 DISMISS
   18 AMBER HEARD,
                                                 Date:       October 12, 2023
   19                   Defendant.               Time:       8:30 a.m.
   20                                            Dept.:      9D
   21 AND RELATED COUNTERCLAIM
                                                 Complaint Filed July 8, 2022
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    1           MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.     INTRODUCTION
    3        Defendant Amber Heard moves once again to dismiss this moot
    4 action. New York Marine filed this action pursuant to the Declaratory

    5 Judgment Act, 28 U.S.C. § 2201, seeking a declaration that it did not owe

    6 any defense or indemnity obligations to Ms. Heard under its policy for

    7 the lawsuit filed against her by John C. Depp II in March 2019. This

    8 Court ruled that New York Marine’s claims in its First Amended

    9 Complaint, as pled, are moot due to events that occurred after this action

   10 was filed—including the Court’s March 17, 2023, ruling on New York

   11 Marine’s earlier motion to dismiss Ms. Heard’s counterclaims. That

   12 ruling resolved the issue of New York Marine’s duty to defend.

   13        Nonetheless, on August 28, 2023, New York Marine filed its Second
   14 Amended Complaint (“SAC”). The SAC does not allege any new

   15 jurisdictional facts (there are none) or state any claim that is the subject

   16 of an actual live dispute between the parties—a jurisdictional and

   17 statutory requirement for the relief that New York Marine seeks.

   18 Instead, New York Marine alleges a controversy related to its duty to

   19 defend Ms. Heard during three periods: (1) from the commencement of

   20 the Depp lawsuit until the date that she tendered the Depp lawsuit to

   21 New York Marine, (2) from the date of tender through the date when

   22 New York Marine told Ms. Heard that it would defend her under a

   23 reservation of rights, and (3) the time thereafter. Simply put, there is no

   24 live dispute about New York Marine’s duty in any of these periods.

   25        As to the first, Ms. Heard has never sought “pre-tender” defense
   26 costs in this action, does not seek them now, and will not seek them in
   27 the future. As to the second and third, Ms. Heard has consistently sought

   28 recovery of defense costs only as to her independent counsel. This Court

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    1 already determined she was not entitled to those costs. Although New

    2 York Marine tries to distinguish between its defense duty before and

    3 after the date on which it accepted the defense under a reservation of

    4 rights, the legal issue is the same, as is the effect of this Court’s previous

    5 dismissal order. Ms. Heard’s recovery of her defense costs for either

    6 period is premised on her right to independent counsel. When this Court

    7 ruled in New York Marine’s favor on that issue, it resolved the only

    8 dispute between the parties as to New York Marine’s duty to defend.

    9 Simply put, Ms. Heard is not seeking pre-tender defense costs and this

   10 Court already has ruled she is not entitled to the post-tender defense

   11 costs. There is no live justiciable controversy and nothing left for this

   12 Court to decide—except to dismiss the SAC.

   13        Therefore, this Court should dismiss New York Marine’s SAC for
   14 lack of jurisdiction and enter final judgment.

   15 II.    STATEMENT OF FACTS
   16        New York Marine issued insurance policy no. GL201800012500 to
   17 Under the Black Sky, Inc. and Ms. Heard for the period July 18, 2018, to

   18 July 19, 2019. ECF No. 76-1 at 3, 5. On March 1, 2019, Mr. Depp filed

   19 the underlying lawsuit against Ms. Heard. ECF No. 76 at 5. On or about

   20 September 4, 2019, Ms. Heard tendered the Depp lawsuit to New York

   21 Marine. Id. at 6. On July 8, 2022, New York Marine filed this action,

   22 seeking a declaration that it did not owe ongoing defense obligations to

   23 Ms. Heard for the Depp lawsuit. ECF No. 1 at 7-11.

   24        Ms. Heard filed her First Amended and Supplemental Answer and
   25 First Amended Counterclaim on January 13, 2023, alleging causes of

   26 action for breach of contract and breach of the implied covenant of good
   27 faith and fair dealing. ECF No. 36 at 10-14. Ms. Heard alleged that New

   28 York Marine refused to provide the independent counsel to which Ms.

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    1 Heard was entitled. Id. On February 10, 2023, New York Marine moved

    2 to dismiss Ms. Heard’s First Amended Counterclaim. ECF No. 42. On

    3 March 17, 2023, this Court issued an order granting New York Marine’s

    4 motion to dismiss (the “March Dismissal Order”), concluding that New

    5 York Marine did not have a duty to provide Ms. Heard with independent

    6 counsel and, therefore, dismissing with prejudice Ms. Heard’s breach of

    7 contract claim. ECF No. 45 (Tentative Ruling) at 5-10; ECF No. 51

    8 (Order Adopting Tentative Ruling).1

    9         As to New York Marine’s claims regarding its “ongoing” defense
   10 duty, the Depp lawsuit was settled in December 2022, resolving that

   11 issue. Robinson Decl. ¶ 3. Still, New York Marine refused to dismiss its

   12 claims. Id. ¶ 14. Accordingly, on June 5, 2023, Ms. Heard moved for

   13 judgment on the pleadings to dismiss this action for lack of subject

   14 matter jurisdiction. ECF No. 55. New York Marine filed its own motion

   15 for judgment on the pleadings and opposition to Ms. Heard’s motion for

   16 judgment on the pleadings on June 22, 2023. ECF. No. 59. On August 14,

   17 2023, after oral argument, the Court concluded that this action, as pled,

   18 is moot. It granted Ms. Heard’s motion for judgment on the pleadings

   19 with leave to amend (“August Dismissal Order”), negating any need to

   20 consider New York Marine’s motion. ECF No. 74 (Tentative Ruling); ECF

   21 No. 75 (Order Adopting Tentative Ruling).

   22         During the parties’ meet and confer on August 18, 2023, Ms. Heard
   23 again represented to New York Marine that her claim for defense costs

   24

   25   1 Notably, the Tentative Ruling stated that if Ms. Heard’s breach of contract

   26 counterclaim did not rest entirely on her theory that New York Marine was
        required to provide her with independent counsel, then Ms. Heard should
   27 make that clear to the Court at oral argument. ECF No. 45 at 5 (emphasis
        added). Because the Court correctly understood Ms. Heard’s counterclaim, Ms.
   28 Heard did not raise an alternative theory at oral argument.

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    1 rested entirely on the issue of independent counsel, already resolved by

    2 this Court. Robinson Decl. ¶ 15. Nevertheless, on August 28, 2023, New

    3 York Marine filed its operative Second Amended Complaint, alleging two

    4 causes of action not already dismissed (per the Court’s August Dismissal

    5 Order) for declaratory relief as to New York Marine’s duty to defend Ms.

    6 Heard against the Depp lawsuit. ECF No. 76. The alleged factual basis

    7 for jurisdiction is a dispute related to New York Marine’s obligation to

    8 pay any defense costs or defend Ms. Heard (1) from the commencement

    9 of the Depp lawsuit up until Ms. Heard’s tender of the action to New

   10 York Marine on September 4, 2019, (2) at any time between the tender of

   11 defense and October 1, 2019, when New York Marine told Ms. Heard

   12 that it would defend her under a reservation of rights, or (3) any time

   13 thereafter. Id. at 9 and 12.

   14        For all the reasons below, New York Marine still fails to meet its
   15 burden to show that there is an actual controversy between the parties.

   16 Accordingly, Ms. Heard now moves for dismissal for lack of subject

   17 matter jurisdiction under Federal Rule of Civil Procedure 12(b)(1).

   18 III.   LEGAL STANDARD
   19        “Absent a true case or controversy, a complaint solely for
   20 declaratory relief under 28 U.S.C. § 2201 will fail for lack of jurisdiction

   21 under Rule 12(b)(1).” Rhoades v. Avon Prods., Inc., 504 F.3d 1151, 1157

   22 (9th Cir. 2007). Federal courts have no authority to give opinions on

   23 moot questions—jurisdiction under Article III of the Constitution is

   24 limited to “Cases” and “Controversies.” U.S. Const. art. III, § 2, cl. 1. “To

   25 qualify as a case fit for federal-court adjudication, ‘an actual controversy

   26 must be extant at all stages of review, not merely at the time the
   27 complaint is filed.’” Arizonans for Official English v. Arizona, 520 U.S.

   28 43, 67 (1977) (quoting Preiser v. Newkirk, 422 U.S. 396, 401 (1975)).

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    1 Otherwise, the court would be issuing a declaratory judgment for a

    2 dispute that may or may not arise—an advisory opinion prohibited under

    3 Article III. See, e.g., City of Erie v. Pap’s A.M., 529 U.S. 277, 287 (2000)

    4 (courts may not issue advisory opinions); Calderon v. Ashmus, 523 U.S.

    5 740, 746-47 (1998) (court was without jurisdiction to issue declaratory

    6 judgment on an abstract question of law that may arise if plaintiff

    7 pursued a habeas petition). Thus, if a case “has lost its character as a

    8 present live controversy,” it is moot and must be dismissed for lack of

    9 jurisdiction. Allard v. DeLorean, 884 F.2d 464, 466 (9th Cir. 1989).

   10        New York Marine has the burden of proving that subject matter
   11 jurisdiction exists. St. Clair v. City of Chico, 880 F.2d 199, 201 (9th Cir.

   12 1989). In assessing Ms. Heard’s challenge to New York Marine’s alleged

   13 jurisdictional facts, this Court “may review evidence beyond the

   14 complaint without converting the motion to dismiss into a motion for

   15 summary judgment.” Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039

   16 (9th Cir. 2004). Unlike a facial attack on jurisdiction, “[t]he court need

   17 not presume the truthfulness of [New York Marine]’s allegations.” Id.

   18 (citing White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000)). The Court

   19 should evaluate a motion to dismiss a declaratory relief action under the

   20 circumstances existing at the time the issue is raised rather than at the

   21 time the action was filed. American Cas. Co. v. Krieger, 181 F.3d 1113,

   22 1119 (9th Cir. 1999).

   23 IV.    THIS CASE NO LONGER MEETS THE ARTICLE III CASE
   24        OR CONTROVERSY REQUIREMENTS
   25        New York Marine no longer has a legally cognizable interest in the
   26 relief it seeks. Pap’s, 529 U.S. at 277 (“A case is moot when the issues
   27 presented are no longer ‘live’ or the parties lack a legally cognizable

   28 interest in the outcome.”). Due to this Court’s March Dismissal Order,

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     1 and for the reasons explained in its August Dismissal Order, the

     2 declaratory relief sought by New York Marine would, at best, be purely

     3 advisory. See Northwest Env’t Def. Ctr. v. Gordon, 849 F.2d 1241, 1244-

     4 45 (9th Cir. 1988) (“in deciding a mootness issue, . . . [t]he question is

     5 whether there can be any effective relief” (quotations omitted)).

     6       New York Marine carves up into three separate time periods the
     7 issue of its duty to defend Ms. Heard, alleging a dispute between the

     8 parties as to each of the three. None of its duties, however, are actually

     9 in dispute, and there is no relevant difference among these periods. As

   10 the Court held in its August Dismissal Order, the March Dismissal

   11 Order resolved “the only defense-duty actually challenged by Heard

   12 (meaning that any other defense-duty issue raised by N.Y. Marine is not

   13 actually contested or the subject of a live controversy).” ECF No. 74 at 4.

   14 Indeed, the Court noted that New York Marine “effectively

   15 acknowledge[d]” this in its briefing, using this fact as support for its

   16 motion for judgment on the pleadings. Id. (citing ECF No. 59-1 at 25-26).

   17 The mere possibility that Ms. Heard could have asserted a claim related

   18 to some other defense-duty issue would raise only a speculative and

   19 abstract question inappropriate for adjudication by this Court.

   20        In any case, as suggested by the Court’s opinion, Ms. Heard is not
   21 changing course and asserting some new theory of recovery. That would

   22 be inconsistent with her (accurate) representations about the defense-

   23 duty issue in dispute, which this Court accepted in issuing its August

   24 Dismissal Order. See, e.g., Hamilton v. State Farm Fire & Cas. Co., 270

   25 F.3d 778, 782-83 (9th Cir. 2001) (discussing criteria for application of

   26 judicial estoppel).
   27        In sum, New York Marine’s amendments change nothing. This
   28 Court’s earlier rulings, New York Marine’s own filings, and Ms. Heard’s

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     1 consistent positions and representations show that New York Marine’s

     2 defense obligations are not presently in dispute. This action must be

     3 dismissed for lack of jurisdiction, and New York Marine should not be

     4 permitted another futile amendment.

     5 V.    THIS CASE NO LONGER MEETS THE “ACTUAL
     6       CONTROVERSY” REQUIREMENT UNDER THE
     7       DECLARATORY JUDGMENT ACT
     8       “A lawsuit seeking federal declaratory relief must first present an
     9 actual case or controversy within the meaning of Article III of the United

   10 States Constitution, and must also fulfill statutory jurisdictional

   11 prerequisites.” Unigard Ins. Co. v. Cont’l Warehouse, 2001 WL 432396 at

   12 *2 (N.D. Cal. Apr. 26, 2001) (citing Government Emps. Ins. Co. v. Dizol,

   13 133 F.3d 1220, 1222-23 (9th Cir.1998) (en banc)). In addition, the

   14 Declaratory Judgment Act requires that there be “a case of actual

   15 controversy.” 28 U.S.C. § 2201(a); MedImmune, Inc. v. Genentech, Inc.,

   16 549 U.S. 118, 127 (2007) (explaining that “the phrase ‘case of actual

   17 controversy’ in the Act refers to the type of ‘Cases’ and ‘Controversies’

   18 that are justiciable under Article III”). In other words, if a case is moot

   19 under Article III, then “no relief can be given under the Declaratory

   20 Judgments Act.” State Farm Mut. Auto. Ins. Co. v. Ormston, 550 F. Supp.

   21 103, 106 (E.D. Pa. 1982) (citing Korvettes, Inc. v. Brous, 617 F.2d 1021,

   22 1023 (3d Cir. 1980)).

   23        Simply put, this case is moot under Article III. The Declaratory
   24 Judgment Act provides no separate basis for jurisdiction. Indeed, the

   25 Court’s statutory authority under the Declaratory Judgment Act is

   26 predicated on the existence of an “actual controversy” that is justiciable
   27 under Article III. Because there is no longer any live dispute in this

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     1 action, the Court has no authority to grant declaratory relief under

     2 28 U.S.C. § 2201(a).

     3 VI.   CONCLUSION
     4       For the reasons stated above, the Court should dismiss this action
     5 for lack of subject matter jurisdiction.

     6 DATED: September 6, 2023                      PASICH LLP
     7
                                               By:     /s/ Owen Monkemeier
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                                                     Owen Monkemeier
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                                                     Attorneys for Defendant and
   10                                                Counter-Claimant
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     1                    CERTIFICATE OF COMPLIANCE
     2       The undersigned, counsel of record for Defendant and Counter-
     3 Claimant Amber Heard, certifies that this brief contains 2,216 words,

     4 which complies with the word limit of L.R. 11-6.1, excluding the parts of

     5 the document exempted by L.R. 11-6.1.

     6 DATED: September 6, 2023                      PASICH LLP
     7
                                               By:     /s/ Owen Monkemeier
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                                                     Attorneys for Defendant and
   10                                                Counter-Claimant
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